
The Supreme Court affirmed the decision of the lower court on May 17, 1880, in the following opinion per
Mercur, J.
Two thoughts are clearly indicated in the marriage settlements we are called upon to construe. The one that the wife should be permitted to have and enjoy the use and benefit of her separate estate and receive the rents, issues and profits thereof during coverture as fully as she enjoyed the same prior to said inténded marriage, and might “dispose of the same by will or otherwise.” The other, that after his death, in lieu and satisfaction of her whole dower to his estate, she should receive the sum of five hundred dollars, and also the sum of three hundred dollars allowed to a widow. She died while her husband, was living. She never reached that widowhood, on the happening of which either sum was to become payable. She was never in a condition to elect to *283retain the $300,00, nor had she such a fixed and certain right of dower that she could call for the $500.00, “in lieu and satisfaction” thereof. It is very manifest it was never intended, in case her husband survived her, that alter his death, her heirs or personal representatives could claim either of the sums out of his estate. They were all she could claim, in case she survived her husband. Dying before him, she could neither enjoy nor transmit either of them.
Decree affirmed and appeal dismissed at the cost of the appellant.
